                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                       )         MATTICE/CARTER
                                                )
        v.                                      )         CASE NO. 1:13-CR-89
                                                )
 GERALD TONEY                                   )



                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on May 13, 2014. At

 the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of the

 Second Superseding Indictment, conspiracy to distribute 28 grams or more of a mixture and

 substance containing a detectable amount of cocaine base (“crack”), a Schedule II controlled

 substance, in violation of 21 USC '' 846, 841(a)(1) and (b)(1)(B), in exchange for the

 undertakings made by the government in the written plea agreement. On the basis of the record

 made at the hearing, I find that the defendant is fully capable and competent to enter an informed

 plea; that the plea is made knowingly and with full understanding of each of the rights waived by

 defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

 promises in the plea agreement; that the defendant understands the nature of the charge and

 penalties provided by law; and that the plea has a sufficient basis in fact.




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        I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Second Superseding Indictment be accepted, that the Court adjudicate defendant

 guilty of the charges set forth in the lesser included offense in Count One of the Second

 Superseding Indictment, and that the written plea agreement be accepted at the time of sentencing.

 I further recommend that defendant remain in custody until sentencing in this matter. Acceptance

 of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.

        The defendant=s sentencing date is scheduled for Monday, August 18, 2014, at 9:00 am.



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                                                 UNITED STATES MAGISTRATE JUDGE




                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




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